Case 1:04-cr-00159-NGG              Document 364           Filed 04/04/06   Page 1 of 20 PageID #: 1209




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  -----------------------------------------------------X

  UNITED STATES OF AMERICA,


                            - against -                             MEMORANDUM & ORDER

                                              04-CR-159 (NGG)
  WILLIAM BROWN and
  VLAD GOLDENBERG,
                                                                    NOT FOR PUBLICATION
                            Defendants.

  -----------------------------------------------------X
  GARAUFIS, United States District Judge.

          Defendants William Brown (“Brown”) and Vlad Goldenberg (“Goldenberg”) were

  convicted on October 14, 2005, following a three-week jury trial before this court, of five

  substantive counts of securities fraud and of conspiracy to commit securities fraud. In addition,

  Brown was found guilty of conspiracy to commit money laundering and of nine substantive

  counts of money laundering. On October 17, 2005, the jury rendered a verdict in the concomitant

  forfeiture proceeding, requiring Brown and Goldenberg to forfeit $1,231,438.20 generated as

  proceeds of the securities fraud scheme. The jury also rendered a forfeiture verdict against

  Brown in connection with the money laundering convictions requiring him to forfeit $1.231

  million and the real property located at 100 St. Mary’s Avenue, Staten Island, New York. (“100

  St. Mary’s property”)1 in connection with the money laundering conspiracy conviction and

  $152,500.00 in connection with the substantive money laundering counts.

          1
            During the course of the trial, the 100 St. Mary’s Avenue property was sold and the net
  proceeds from the sale were placed in an escrow account pending resolution of the trial. Thus,
  all references to the forfeited “property” known as 100 St. Mary’s Avenue in fact refers to the
  proceeds from the sale of that property.
Case 1:04-cr-00159-NGG         Document 364         Filed 04/04/06      Page 2 of 20 PageID #: 1210




         Both defendants now seek post-trial relief. Defendant Brown has brought a motion

  pursuant to Rule 33 of the Federal Rules of Criminal Procedure (“Rule 33”) seeking a new trial

  on various grounds. Brown also challenges the forfeiture judgment entered against him pursuant

  to Fed. R. Crim. P. 32.2(a) (“Rule 32.2(a)”). (See generally Motion of William Brown dated

  November 28, 2005 (“Brown Mot.”)). Defendant Goldenberg also moves the court, pursuant to

  Rule 33, for an order setting aside the guilty verdicts and for a new trial. (See generally Motion

  of Vlad Goldenberg dated November 23, 2005 (“Goldenberg Mot.”)).

         For the reasons stated below, the Defendants’ motions are DENIED.

  I.     The Trial

         At trial, the Government presented evidence of a “boiler room” securities fraud scheme,

  which operated from October 2000 through January 2003, out of the Staten Island branch office

  of Delta Asset Management (“Delta”), a brokerage firm. Brown was one of Delta’s managers

  and Goldenberg was a stock broker employed there. Pursuant to the fraudulent scheme, brokers

  at Delta convinced Delta customers to purchase stock in certain “house stocks” at artificially

  inflated prices. The stock promoters who sold the house stocks, in turn, paid Brown, Goldenberg

  and other Delta employees kickbacks, which constituted as much 50% of the stock price paid by

  the brokerage customers – unbeknownst to them – totaling millions of dollars.

         The Government’s evidence was presented through three general categories of witnesses.

  One group of witnesses consisted of law enforcement and other regulatory officials, and included

  the following: (1) testimony of an agent of the Federal Bureau of Investigation (“FBI”) who

  investigated the activity at Delta; (2) testimony of two staff members of the Securities and

  Exchange Commission (“SEC”), which was involved in investigating securities violations


                                                   2
Case 1:04-cr-00159-NGG         Document 364         Filed 04/04/06      Page 3 of 20 PageID #: 1211




  committed by Delta in a related civil matter; and (3) testimony of an attorney of the National

  Association of Securities Dealers (“NASD”).

         The second category of testimony was the cooperating witnesses. These witnesses were

  former co-defendants of Brown and Goldenberg who pleaded guilty to various charges and

  agreed to cooperate with the Government in the trial against Brown and Goldenberg. The

  cooperating witnesses who testified at trial included: (1) Nick Pirgousis, the stock promoter who

  brought the majority of the house stock deals to Delta; (2) Mario Rodriguez (a.k.a. Mario

  Casias), who worked as a licensed stock broker at Delta’s Staten Island branch during the

  relevant time period; (3) Mark Shreyberg, another employee at Delta’s Staten Island office who

  was an unlicensed stock broker; and (4) Roman Pasinkovsky, who was at one time a manager of

  Delta’s Staten Island branch office. All of the cooperating witnesses implicated Brown and

  Goldenberg in the fraudulent scheme and corroborated the Government’s theory of the case.

         Finally, the third group of witnesses who testified at trial were certain victims of the stock

  fraud scheme. These witnesses included Scott Frane, who received a call from “Mario Casias” in

  2001 and subsequently purchased approximately $50,000 worth of the so-called house stocks

  without being informed of the 50% commission that Casias was receiving on the sale. Kelly

  McCrann, another victimized investor, took the stand and testified concerning the several

  hundreds of thousands of dollars he invested through “Mario Casias” at Delta. Finally, Henry

  Whitfield and Wilbur Krusell both testified regarding their victimization concerning stock

  purchased through Delta, stating that they would not have invested had they known of the

  scheme in place at Delta.

         The evidence adduced at trial established that Brown, along with his business partner


                                                   3
Case 1:04-cr-00159-NGG          Document 364         Filed 04/04/06      Page 4 of 20 PageID #: 1212




  Gary Todd, ran the Staten Island branch of Delta Asset Management, and that Brown and

  Goldenberg, along with others, participated in a large scale stock fraud scheme perpetuated by

  Delta, its managers and employees. As I presided over the trial, I see no reason to painstakingly

  summarize the over 1600-page trial transcript. Rather, I will address portions of the evidence in

  the context of specific arguments raised by the defendants in the instant post-trial motions.

  Suffice it to say that I have no reservations concluding that based on the evidence presented, the

  jury could have reasonably concluded that both Brown and Goldenberg were guilty of the crimes

  charged.

  II.    Discussion: Defendants’ Rule 33 motions

         Rule 33 provides that, “upon the defendant’s motion the court may vacate any judgment

  and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33. “The ultimate

  test on a Rule 33 motion is whether letting a guilty verdict stand would be a manifest injustice.”

  United States v. Ferguson, 246 F.3d 129, 134 (2d Cir. 1997). The Second Circuit has stated that

  a district court should exercise its authority to grant a Rule 33 motion only “in the most

  extraordinary circumstances.” United States v. Locascio, 6 F.3d 924, 949 (2d Cir. 1993). “It is

  only where exceptional circumstances can be demonstrated that the trial judge may intrude upon

  the jury function of credibility assessment.” United States v. Sanchez, 969 F.2d 1409, 1414 (2d

  Cir. 1992). In the typical case, the trial judge “must defer to the jury's resolution of the weight of

  the evidence and the credibility of the witnesses.” United States v. LeRoy, 687 F.2d 610, 616 (2d

  Cir. 1982). Moreover, even where the trial judge rejects some portion or all of the testimony of a

  witness or witnesses, the defendant is “not automatically entitle[d]” to a new trial. Sanchez, 969

  F.2d at 1414.


                                                    4
Case 1:04-cr-00159-NGG          Document 364        Filed 04/04/06      Page 5 of 20 PageID #: 1213




         Both Defendants argue that they should be afforded a new trial pursuant to Rule 33 on the

  grounds that there was insufficient evidence adduced at trial to support their convictions. As a

  general matter, I conclude that there was sufficient evidence presented at trial to support the

  guilty verdicts rendered against both defendants, and their Rule 33 motions are accordingly

  denied. I will nonetheless briefly address the Defendants’ specific arguments in turn below.

         1.      The Supreme Court case of Dura Pharmaceuticals does not hold that the
                 Government must prove causation in a criminal securities fraud case

         Brown and Goldenberg each argue that the Government failed to meet its burden of

  proving guilt beyond a reasonable doubt inasmuch as it was not proven at trial that the fraudulent

  conduct of the Defendants proximately caused investors to lose money. Defendant Brown argues

  that there was “never any evidence establishing a nexus between the fraudulent acts and the loss

  to the ‘victims.’” (Brown Mot. ¶ 18). Defendant Goldenberg urges that there was “no credible

  proof of any fraudulent representation by Goldenberg of a present or past fact which, as a direct

  consequence, proximately caused investor loss.” (Goldenberg Mot. at 16).

         Both Defendants’ base their positions on the recent Supreme Court case of Dura

  Pharmaceuticals v. Broudo, 544 U.S. 336, 125 S.Ct. 1627 (2005). In Dura, the Court held that a

  “private plaintiff who claims securities fraud must prove that the defendant’s fraud caused an

  economic loss.” Dura, 125 S.Ct. at 1629. Brown and Goldenberg assert that Dura applies in the

  criminal context and accordingly requires that the Government also prove a causal connection

  between the fraudulent conduct and the victims’ economic loss. Notwithstanding the

  Defendants’s arguments to the contrary, Dura was not held to apply in the criminal context and

  the Defendants reliance on the case is misplaced. Dura explicitly addressed the loss causation



                                                   5
Case 1:04-cr-00159-NGG          Document 364         Filed 04/04/06      Page 6 of 20 PageID #: 1214




  requirement in a civil suit brought by a private plaintiff pursuant to the Private Securities

  Litigation Reform Act of 1995. See id. at 1631; 15 U.S.C. § 78u-4(b)(4). Its holding does not

  extend to the criminal context, and Dura therefore does not provide a basis for finding that there

  was insufficient evidence to support the Defendants’ securities fraud convictions.

         2.      Brown’s motion to vacate the money laundering convictions due to
                 insufficient evidence is without merit

         Defendant Brown asserts that there was insufficient testimony and physical evidence

  presented at trial to prove that he was guilty of conspiracy to commit money laundering and

  money laundering. This court disagrees. At trial, the testimony of numerous witnesses and

  supporting documentary evidence established that Brown and Gary Todd created B&G

  Consulting, which the Government proved was used by both Brown and Todd to launder money

  and funnel kickback payments. There was also evidence presented that showed that Brown was

  involved in money laundering through certain jewelry stores and that Brown personally

  participated in providing cash payments to Delta employees.

         Brown’s convictions for money laundering and for conspiring to launder money are

  supported by sufficient evidence and will not be vacated.

         3.      Defendants’ motions to vacate the securities fraud convictions based on
                 insufficient evidence are without merit

         Brown and Goldenberg have both moved for vacatur of the substantive securities fraud

  convictions and the conspiracy to commit securities fraud conviction rendered against them

  based on insufficient evidence grounds. (See Goldenberg Mot. at 18; Brown Mot. ¶¶ 13-18). As

  I have noted above, I find that there is no basis to grant Defendants’ Rule 33 motions on the

  grounds of insufficient evidence. As I find there was ample evidence to support these


                                                    6
Case 1:04-cr-00159-NGG          Document 364        Filed 04/04/06      Page 7 of 20 PageID #: 1215




  convictions, there certainly will be no “manifest injustice” in allowing the convictions to stand.

  See Ferguson, 246 F.3d at 134 (2d Cir. 1997). Rather, I defer to “the jury’s resolution of the

  weight of the evidence and the credibility of the witnesses,” LeRoy, 687 F.2d at 616, and

  accordingly deny both Brown’s and Goldenberg’s motion on these grounds.

         4.      Brown’s motion to vacate the forfeiture judgments is without merit

         Once the guilt phase of the trial concluded and the jury found the Defendants guilty on all

  counts, the jury considered the Government’s forfeiture charge, which sought forfeiture of assets

  in excess of $2.6 million as well as the 100 St. Mary’s Avenue property. The jury returned a

  verdict in the forfeiture matter in the amount of $1.231 million, both for the securities fraud

  counts and the money laundering counts, and for forfeiture of the St. Mary’s Avenue Property.

  With respect to the securities fraud forfeiture, Brown and Goldenberg were held jointly and

  severally liable; Brown is individually liable for the money laundering forfeiture in the same

  amount because he alone was convicted of the money laundering crimes. The two judgments,

  however, in effect are concurrent judgments. Brown objects to this verdict on several counts.

         First, Brown argues that the forfeiture judgment is “inconsistent with the evidence

  presented” in that the jury did not agree with the Government’s proposed forfeiture amount, but

  rather came up with a number of its own which Brown maintains “could not be calculated by the

  defendant, counsel, or even the prosecution.” (Brown Mot. ¶ 20). That the parties, their counsel,

  or even this court cannot discern the exact basis for the jury’s calculation of the forfeiture amount

  does not render the verdict invalid. See United States v. Powell, 469 U.S. 57, 67 (1984) (“But

  with few exceptions, once the jury has heard the evidence and the case has been submitted, the

  litigants must accept the jury’s collective judgment. Courts have always resisted inquiring into a


                                                   7
Case 1:04-cr-00159-NGG          Document 364        Filed 04/04/06       Page 8 of 20 PageID #: 1216




  jury’s thought processes; through this deference the jury brings to the criminal process, in

  addition to the collective judgment of the community, an element of needed finality.”) (internal

  citations omitted).

         Brown further claims that the forfeiture judgments are inconsistent and therefore must be

  vacated because “the ‘securities judgment’ is ‘joint and several’ between both this defendant and

  the co-defendant, Vlad Goldenberg, but the money laundering conspiracy judgment is against

  this defendant alone.” (Brown Mot. ¶ 21). Brown argues that because the Defendants were

  found liable together for the securities fraud forfeiture, but Brown was found liable individually

  for the money-laundering forfeiture, both forfeiture verdicts must be dismissed. The argument is

  without merit. The “inconsistency” that Brown points out is simply reflective of the fact that

  Brown and Goldenberg were both found guilty of the securities fraud crimes, but only Brown

  was charged and convicted of the money laundering counts. The forfeiture judgments are not

  inconsistent and will not be vacated on these grounds.

         Brown also moves to set aside the forfeiture of the 100 St. Mary’s Avenue property

  arguing (1) that he was never the owner of this property and thus has no right to forfeit it; and (2)

  that he was not provided adequate notice of the Government’s intention to seek forfeiture of this

  asset pursuant to Fed. R. Crim. P. 32.2(a). (See Brown Mot. ¶¶ 37-40).

         With respect to Brown’s ownership of the 100 St. Mary’s Avenue property, he claims that

  100 St. Mary’s Avenue Corporation is the owner of the property and that prior to the indictments

  in the instant matter, ownership of the corporation was transferred to Brown’s wife, who

  assumed all of the property’s liabilities including the mortgage. (Id. ¶ 38). Brown argues that

  these facts render the forfeiture of the property improper. The Government responds that


                                                    8
Case 1:04-cr-00159-NGG           Document 364          Filed 04/04/06       Page 9 of 20 PageID #: 1217




  Brown’s argument misinterprets the law and procedure governing forfeiture judgments. (See

  Memorandum of Law in Opposition to Defendants’ Post-Trial Motions (“Govt. Mem. Opp’n”),

  at 44-45).

           The Government is correct. The verdict in the forfeiture proceeding required Brown to

  forfeit only his interest in the 100 St. Mary’s Avenue property. To the extent that his wife has a

  legitimate interest in the property, she is entitled to bring that to the court’s attention in a separate

  proceeding pursuant to 21 U.S.C. § 853. But “no party claiming an interest in property subject to

  forfeiture . . . may intervene in a trial or appeal of a criminal case involving the forfeiture of such

  property.” 21 U.S.C. § 853(k). The proper course of action for a third party to raise his/her

  interest in a forfeited asset is to “petition the court for a hearing to adjudicate the validity of his

  alleged interest in the property” pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(c).

  See, e.g., Borich v. United States, No. CR. 03-166, 2005 WL 1668411, at *2 (D. Minn. July 18,

  2005); United States v. Weidner, No. 02-CR-40140, 2004 WL 432251, at *1 (D. Kan. Mar. 4,

  2004).

           Moreover, it is well established that there can be criminal forfeiture of property that is

  held in a third party’s name if the Government believes that the third party is just a nominee.

  See, 32 Am. J. Crim. L. 55, Stefan D. Cassella, Criminal Forfeiture Procedure: An Analysis of

  Developments in the Law Regarding the Inclusion of a Forfeiture Judgment in the Sentence

  Imposed in a Criminal Case, at *84 (Fall 2004). Thus, there is no reason to vacate the forfeiture

  order regarding the 100 St. Mary’s Avenue property due to Brown’s alleged lack of ownership

  over the property.

           Brown also urges dismissal of the portion of the forfeiture verdict concerning the 100 St.


                                                      9
Case 1:04-cr-00159-NGG           Document 364 Filed 04/04/06              Page 10 of 20 PageID #:
                                            1218



Mary’s Avenue property on the grounds that he was never provided adequate notice of the

Government’s intent to seek the forfeiture. (See Brown Mot. ¶ 40). Rule 32.2(a) provides that

“[a] court must not enter a judgment of forfeiture in a criminal proceeding unless the indictment

or information contains notice to the defendant that the government will seek the forfeiture of

property as part of any sentence in accordance with the applicable statute.” Fed. R. Crim. P.

32.2(a). The Advisory Committee’s Notes to this provision explain further: “As courts have

held, subdivision (a) is not intended to require that an itemized list of the property to be forfeited

appear in the indictment or information itself.” Fed. R. Crim. P. 32.2(a) advisory committee’s

note (2000). Rather, the government is required to “give the defendant notice that it will be

seeking forfeiture in accordance with the applicable statute.” Id. The superseding indictment in

this matter, filed with the court on January 25, 2005, explicitly included criminal forfeiture

allegations which track the applicable statutes. (See Superseding Indictment ¶¶ 31, 34). This

alone is adequate Rule 32.2(a) notice, see United States v. Grammatikos, 633 F.2d 1013, 1023-24

(2d. Cir. 1980), and Brown’s motion to dismiss the forfeiture verdict regarding 100 St. Mary’s

Avenue on the grounds of insufficient notice is denied.

       5.      No Credible evidence has been offered to show that cooperating witness
               Mark Shreyberg perjured himself at trial

       Brown next argues that it is necessary to vacate his guilty verdicts and grant a new trial

because there is “newly discovered evidence” that a cooperating witness who testified at trial for

the Government, Mark Shreyberg, perjured himself on the stand. (Brown Mot. ¶ 22-23). Mark

Shreyberg is the son-in-law of Gary Todd, a former co-defendant of Brown’s, Brown’s former

business partner in B&G Consulting, and former co-manager of Delta’s Staten Island office. At



                                                  10
Case 1:04-cr-00159-NGG          Document 364 Filed 04/04/06            Page 11 of 20 PageID #:
                                           1219



trial, Shreyberg was asked if one of the reasons he had decided to cooperate with the government

was so that his father-in-law Gary Todd might receive some leniency in his sentencing. (See

Trial Transcript (“Tr.”) at 464). Specifically, on cross-examination, Shreyberg was asked: “Was

part of your plea agreement and your cooperation to also give [your father-in-law] a break in his

sentencing,” to which Shreyberg answered, “no.” (Id.).

       Brown’s so-called “newly discovered evidence” of Shreyberg’s perjury is allegedly found

in a letter submitted by Shreyberg’s attorney to the court in connection with Gary Todd’s

sentencing, and in the Sentencing Memorandum of Gary Todd submitted by Todd’s attorney in

advance of his sentencing. (See Docket Entries # 290, 291). In both of these documents, the

respective attorneys indicate that Todd was instrumental in encouraging his son-in-law Shreyberg

to cooperate with the Government in the instant matter. While this may be true, it in no way

proves that Shreyberg perjured himself on the stand. That Todd may have encouraged Shreyberg

to become a cooperator does not suggest that it was part of Shreyberg’s plea agreement to

decrease Todd’s sentence. Indeed, Shreyberg’s Cooperation Agreement, attached to the

Government’s Opposition Brief, states no such thing. Rather, it explicitly states that “no

promises, agreements or conditions have been entered into other than those set forth in this

agreement.” (Govt. Mem. Opp’n, Ex. A, at ¶ 12). As there is no new evidence suggesting that

Shreyberg committed perjury, this will not serve as grounds to vacate Brown’s convictions. The

Defendant’s motion is denied.

       6.      Goldenberg’s motion for a new trial based on the jury instructions
               concerning Goldenberg’s efforts to obstruct justice is without merit

       Goldenberg moves for a new trial on the grounds that the court improperly instructed the



                                                11
Case 1:04-cr-00159-NGG          Document 364 Filed 04/04/06              Page 12 of 20 PageID #:
                                           1220



jury as to the evidence concerning Goldenberg’s alleged involvement in “coaching” Mario

Rodriguez to lie before the SEC. (See Goldenberg Mot. at 18). The full instruction given stated:

               You have also heard testimony that the defendant Vlad Goldenberg
       coached Mario Rodriguez, and that the defendant William Brown coached Mario
       Rodriguez, Roman Pasinkovsky and Nick Pirgousis, in substance, to lie in their
       testimonies before the SEC and NASD.
               The defendants are not on trial for attempting to influence the statements
       of co-conspirators and you may not consider the evidence as a substitute for proof
       of guilt in this case.
               However, if you find beyond a reasonable doubt that the defendant you are
       considering did attempt to influence the statements of a co-conspirator, you may –
       but are not required to – infer that the defendant believed that he was guilty of the
       crimes for which he is here charged.
               Whether or not evidence of the defendants’ attempted influence of a co-
       conspirator[’]s [statement] shows that the defendant believed that he was guilty of
       the crime for which he is now charged, and the significance, if any, to be given
       such evidence, is for you, the jury, to decide.

(Tr. at 1584-85).

       There is nothing improper about this “consciousness of guilt” instruction. See United

States v. Malpiedi, 62 F.3d 465, 467 (2d Cir. 1995) (“This testimony was direct evidence of

[defendant’s] obstruction of justice and of his consciousness of guilt of the other charges.”);

United States v. Robinson, 635 F.2d 981, 986 (2d Cir. 1980) (finding evidence of obstruction of

justice properly admissible as evidence of consciousness of guilt). It comports with the evidence

presented at trial and provides no basis for granting Goldenberg’s Rule 33 motion.

       7.      There were no errors committed by this court before or during trial that
               warrant vacating Defendants’ convictions or granting a new trial

       Brown raises several additional alleged errors by the court that he believes provide a basis

for a new trial pursuant to Rule 33. These will each briefly be addressed in turn.

               (a)     Discovery



                                                 12
Case 1:04-cr-00159-NGG          Document 364 Filed 04/04/06             Page 13 of 20 PageID #:
                                           1221



       Brown argues that “the discovery process was clearly mishandled,” in that given the

extremely large number of documents disclosed in the discovery phase of this matter, the

Government did not timely turn over materials nor do so in a sufficiently workable manner.

(Brown Mot. ¶ 26). Although all parties and this court concede that the discovery in this trial

was voluminous, there has been no violation of the Defendants’ rights as a result of the timing or

manner in which discovery was turned over. Approximately 16 months before trial, the majority

of documents were turned over to defendants for inspection with an index of the documents

provided. (Govt. Mem. Opp’n, at 35). The remaining documents were also turned over in a

timely fashion, and the Government even electronically scanned a portion of the discovery

materials. Moreover, the Government’s trial exhibit list and Rule 3500 material was all turned

over in accordance with prevailing precedent and the time-lines set by this court. See 18 U.S.C.

§ 3500; Dolney, 2005 WL 1076269, at *6-8. The discovery schedule and disclosure process does

not provide grounds for Brown’s sought post-trial relief.

               (b)     Goldenberg’s proffer statements

       Brown argues that he was prejudiced by the court’s decision not to sever his trial from

Goldenberg’s, specifically based on the fact that the court permitted the Government to re-open

its case after summation by Goldenberg’s attorney. Brown argues that this “appearance of

irregularity lead [sic] to a quick verdict against Mr. Goldenberg, and consequently this ‘taint’

certainly affected the deliberations against Mr. Brown.” (Brown Mot. ¶ 27). Goldenberg

similarly challenges the court’s decision to allow the Government to reopen its case and to admit

proffer statements of Goldenberg’s. (Goldenberg Mot. at 18-19).

       Some background is necessary to understand the motion on this point. Co-defendant


                                                 13
Case 1:04-cr-00159-NGG          Document 364 Filed 04/04/06              Page 14 of 20 PageID #:
                                           1222



Goldenberg, prior to trial, participated in several proffer sessions with the Government.

Although Rule 410 of the Federal Rules of Evidence provides that, in general, statements made

in the course of plea discussions that do not ultimately lead to a guilty plea are inadmissible at

trial, see Fed. R. Evid. 410, a defendant may waive the protections of Rule 410 by entering into a

voluntary agreement with the Government. United States v. Velez, 354 F.3d 190, 195-97 (2d

Cir. 2004). Goldenberg executed such a Proffer Agreement with the Government, attached to the

Government’s brief as Exhibit C, which explicitly states that the Government may use

Goldenberg’s statements “as substantive evidence to rebut, directly or indirectly, any evidence

offered or elicited, or factual assertions made, by or on behalf of [Goldenberg] at any stage of a

criminal prosecution.” (See Govt. Mem. Opp’n, Ex. C). The validity of Goldenberg’s waiver is

not at issue; rather the Defendants allege that the waiver was not triggered by the remarks of

Goldenberg’s attorney during summation.

       Following summation, the Government moved to re-examine a witness who had testified

previously to introduce Goldenberg’s proffer statements concerning the fact that he had used

Mario Rodriguez’s name when speaking to certain clients to solicit their purchase of stocks. The

Government argued that the waiver had been triggered because Goldenberg’s counsel, in his

summation, stated to the jury facts in contravention to Goldenberg’s proffer statements. (See Tr.

1516-1519). The court granted the Government’s motion and adheres to that ruling, i.e. I find

that the waiver was triggered, and as a result the Government was correctly permitted to admit

Goldenberg’s statements. See United States v. Barrow, 400 F.3d 109, 116 (2d Cir. 2005). The

statements admitted were also properly redacted so as to protect Brown’s rights and to comply

with Bruton v. United States, 391 U.S. 123 (1968). In an M&O dated September 23, 2005


                                                 14
Case 1:04-cr-00159-NGG           Document 364 Filed 04/04/06              Page 15 of 20 PageID #:
                                            1223



(Docket Entry # 272), I ruled that these statements were properly redacted in accordance with

Bruton, and I denied Brown’s motion to sever his trial from Goldenberg’s. These rulings will not

be disturbed on the instant post-trial motions; the Defendants’ Rule 33 motions on this basis are

denied.

                 (c)    The Delta branch office agreement

          Brown requests a new trial based on the court’s admission into evidence of the “Delta

Asset Management Branch Office Agreement” (marked as GX 503), arguing that the admission

of this document as well as statements he made to the SEC violated his Fifth and Sixth

Amendment rights to counsel. (Brown Mot. ¶ 28). Both of these issues were addressed in

advance of or during the trial, and my decisions will stand. With respect to the SEC testimony, I

determined that admission of this testimony would not violate Brown’s constitutional rights, and

I adhere to that ruling. (See Transcript of Status Conference dated Sept. 21, 2005). With respect

to GX 503, the Delta branch office agreement, I found and continue to hold that the Government

laid a proper foundation for authenticating the document pursuant to Fed. R. Evid. 901, and for

admitting it into evidence. Any issues regarding whether or not Brown was familiar with the

entire document properly were addressed on cross examination, as they go to the weight of the

evidence, and not its admissibility. United States v. Tin Yat Chin, 371 F.3d 31, 38 (2d Cir. 2004)

(“Rule 901’s requirements are satisfied if sufficient proof has been introduced so that a

reasonable juror could find in favor of authenticity or identification. Once Rule 901’s

requirements are satisfied, the evidence’s persuasive force is left to the jury.”) (internal

quotations and citations omitted); see also SCS Communications, Inc. v. Herrick Co., Inc., 360

F.3d 329, 344-45 (2d Cir. 2004) (challenges to the reliability of evidence go to its weight, not its


                                                  15
Case 1:04-cr-00159-NGG          Document 364 Filed 04/04/06             Page 16 of 20 PageID #:
                                           1224



admissibility). As I find that admission of the Delta branch agreement and of Brown’s SEC

testimony was proper, this admission provides no basis for a new trial or vacatur of the

defendant’s convictions.

               (d)     404(b) “bad acts” evidence

       Brown and Goldenberg also both ground their Rule 33 motions on the admission at trial

of certain “bad acts” evidence pursuant to Fed. R. Evid. 404(b). (See Brown Mot. ¶¶ 29-31;

Goldenberg Mot. at 17). At the pre-trial, motion in limine stage I ruled that certain evidence of

prior uncharged criminal conduct would be admissible as 404(b) evidence. See United States v.

Dolney, 04-CR-159, 2005 WL 2129169, at *3 (E.D.N.Y. Sept. 1, 2005). The Defendants

challenge specifically evidence concerning similar conduct which occurred at Russo Securities

prior to the charged conduct in the instant indictment that occurred at Delta. The trial record

does not support the argument that evidence was admitted in violation of my 404(b) ruling.

Moreover, the record reflects that proper 404(b) limiting instructions were given to the jury

regarding the purposes for which this evidence could be considered. (See Tr. at 1582-84). The

Defendants’ motions for a new trial on these grounds are denied.

               (e)     Summation errors

       Brown and Goldenberg raise two objections to the Government’s summation comments.

First, Brown argues that “[d]uring summation, the government was permitted to argue, over

defense counsel’s objection, that the jury could find that the stock purchases were illegitimate

because the ‘cooperating witnesses’ had plead [sic] guilty.” (Brown Mot. ¶ 32). Goldenberg

similarly argues that “the Government was permitted to argue that the jury could find stock

purchases were illegitimate because of co-conspirator pleas.” (Goldenberg Mot. at 16). The


                                                16
Case 1:04-cr-00159-NGG           Document 364 Filed 04/04/06              Page 17 of 20 PageID #:
                                            1225



specific portion of the summation to which Defendants object is as follows:

       [GOVT:]        Now, ladies and gentlemen, I submit to you that there is no
       reasonable dispute in this case that there was a conspiracy to commit securities
       fraud and actual securities fraud involving the five chop stocks charged in the
       indictment.
              Mr. Zuntag [Brown’s attorney] tried to suggest to you in his opening that
       these were actually legitimate stock deals, but that is absurd. Do you think Nick
       Pirgousis, Roman Pasinkovsky, Mark Shreyberg, and Mario Rodriguez would
       have pleaded guilty to crimes with an aggregate possible –

       MR. LASHLEY:[ 2]        Objection.

       THE COURT:              Overruled.

       [GOVT:]          – with an aggregate possible sentence ever [sic] a hundred years
                        imprisonment if these were really good deals and there was no
                        stock fraud? Of course not.

(Tr. at 1400).

       In response to Defendants’ motions, the Government draws the court’s attention to the

rule in this circuit that “when a jury has been informed that a co-defendant has pleaded guilty to a

crime, the trial judge should instruct the jury that they may not consider that guilty plea as

evidence of the defendant’s guilt.” United States v. Ramirez, 973 F.2d 102, 105 (2d Cir. 1992).

In the present case, proper jury instructions were given:

       You have heard testimony from cooperating witnesses, Mario Rodriguez, Mark
       Shreyberg, Roman Pasinkovsky, and Nick Pirgousis, all of whom admitted to you
       their own involvement in criminal conduct, including some of the conduct
       charged in the indictment. These cooperating witnesses have all pleaded guilty to
       charges arising from the same facts as this case. You are to draw no inferences of
       any kind about the guilt of the defendants on trial from the fact that prosecution
       witnesses pled guilty to similar or related charges.

(Tr. at 1587). To the extent that the Government may have improperly suggested to the jury that



       2
           Mr. Lashley represented Vlad Goldenberg at trial.

                                                 17
Case 1:04-cr-00159-NGG          Document 364 Filed 04/04/06              Page 18 of 20 PageID #:
                                           1226



it infer from the co-defendants’ guilty pleas the guilt of Brown and Goldenberg,3 this error was

cured by the jury instruction given, and moreover, did not compromise the integrity of

Defendants’ trial given the entire argument before the jury. See United States v. Cruz, 797 F.2d

90, 93 n.1 (2d Cir. 1986) (finding prosecutor’s summation comment “indefensible” but

nonetheless to have not deprived the defendant of a fair trial when “ viewed against the entire

argument before the jury”); United States. v. Wilkinson, 754 F.2d 1427, 1435 (2d Cir. 1985) (in

determining whether to grant a new trial based on improper summation comments, “[t]he test is

whether the statements, viewed against the entire argument before the jury deprived the

defendant of a fair trial”) (internal quotation marks and citation omitted).

       Brown and Goldenberg both offer a second impropriety during summation as grounds for

a new trial, namely that the Government “argued in its summation that the jury could find that the

defendants had knowledge of this criminal activity because they were paid in cash.” (Brown

Mot. ¶ 34; Goldenberg Mot. at 17). The Government properly responds that this argument is

without merit. (Govt. Mem. Opp’n at 29). The Government suggested in its summation that it

could be inferred from the Defendants’ cash payments to one another that they were involved in

illegal activity. To do so was perfectly within the bounds of the law as “[a] prosecutor is

properly given wide latitude in summation, and is entitled to comment upon evidence presented

at trial and to urge the jury to draw reasonable inferences from that evidence.” Moore v. Greiner,

02 Civ.6122, 2005 WL 2665667, at *15 (S.D.N.Y. Oct. 19, 2005) (internal citation omitted); see

also United States v. Roldan-Zapata, 916 F .2d 795, 807 (2d Cir. 1990) (“In summation counsel



       3
        I note for the record, however, that I make no finding as to whether the summation
statements were proper or improper.

                                                 18
Case 1:04-cr-00159-NGG          Document 364 Filed 04/04/06              Page 19 of 20 PageID #:
                                           1227



are free to make arguments which may be reasonably inferred from the evidence presented.”)

(citations omitted).

       The objections to the Government’s summation raised by Brown and Goldenberg do not

warrant Rule 33 relief; the Defendants’ motions for a new trial on these grounds are denied.

               (f)     Co-conspirator statements

       Finally, Brown maintains that his Sixth Amendment right to confrontation was violated

by the admission at trial of certain co-conspirator statements. Brown alleges that admission of

these statements, where the declarant did not take the stand and therefore was not subject to cross

examination, violates the dictates of Crawford v. Washington, 541 U.S. 36 (2004). This

argument is wholly without merit. Indeed, in the Crawford opinion itself, the Court stated in

dicta that statements “in furtherance of a conspiracy” are “by their nature [ ] not testimonial,”

Crawford, 541 U.S. at 56, and the Second Circuit has recently confirmed as much. The

challenged statements are part and parcel of co-conspirators’ statements made in the course of

and in furtherance of Defendants’ conspiratorial plan to mislead investigators. See United States

v. Stewart, 433 F.3d 273, 291 (2d Cir. 2006). The Defendant’s motion for a new trial on the

basis of a Crawford violation is denied.




                                                 19
Case 1:04-cr-00159-NGG        Document 364 Filed 04/04/06            Page 20 of 20 PageID #:
                                         1228



III.   Conclusion

       For all the aforementioned reasons, the Defendants’ motions pursuant to Fed. R. Crim. P.

33 are hereby denied.


SO ORDERED.

Dated: April 4, 2006                                    /s/
       Brooklyn, NY                                NICHOLAS G. GARAUFIS
                                                   United States District Judge




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